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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

                                     CLERK’S MINUTES

                             Before the Honorable Martha Vázquez



 Case No.: CR 17-2558-MV                          Date:    March 14, 2019
 Title:     USA v. Arthur Perrault
 Courtroom Clerk:       Ariel Leitner-Zieff       Court Reporter: Carmela McAlister
 Court in Session: 2:18 p.m.           Court in Recess: 3:49 p.m.
                    TOTAL TIME IN COURT = 1 hour, 31 minutes (91 min.)
 TYPE OF PROCEEDING:              Pretrial Conference
 COURT’S RULINGS AND/OR           Court will defer ruling on Motion in Limine to Preclude
 DISPOSITION:                     Evidence About Quality of Government’s Investigation.
                                  Court will allow SA Chavez and Dan Paulos to remain on
                                  Defense’s witness list.
                                  Court requests documentation regarding federal land status.
                                  Court indicates that exhibits are generally allowed during
                                  opening statements absent certain, specific objections.
 ORDER CONSISTENT WITH
 COURT’S RULING TO BE
 PREPARED BY:

 INTERPRETER:



 ATTORNEY(S) FOR PLAINTIFF:                             ATTORNEY(S) FOR DEFENDANT:
 Holland Kastrin, Sean Sullivan                         Samuel Winder




PROCEEDINGS:

2:18 p.m.       Court in session.
                Pretrial conference begins. Court ready to hear arguments on government’s
                Motion in Limine to Preclude Evidence About Quality of Government’s
                Investigation.
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2:20 p.m.       Ms. Kastrin begins argument regarding quality of government’s investigation.
                Ms. Kastrin also addresses objection to defense’s proffered witness, Dan Paulos,
                and hearsay concerns.

2:26 p.m.       Court and counsel discuss fact of bed in the rectory, and whether that fact is
                contained in FD-302s. Ms. Kastrin provides Court with copy of the FD-302s.

2:32 p.m.       Mr. Winder argues that the information regarding the bedroom is Brady material
                and was not disclosed until December. Mr. Winder clarifies what exactly was
                not included in FD-302 and what his contention is.

2:40 p.m.       Ms. Kastrin clarifies facts regarding FD-302. Ms. Kastrin argues that John Doe
                was not present at the time of the interview with Dan Paulos, and distinguishes
                November 2016 interview from June 2017 interview.

2:47 p.m.       Court will defer ruling on Motion in Limine to preclude evidence of quality of
                government investigation until the government provides more evidence. Mr.
                Winder will be permitted to make standard reasonable doubt arguments.
                Government will be permitted to continue to make objections.

2:48 p.m.       Begin discussion of Defense’s witness list.

2:51 p.m.       Ms. Kastrin addresses government’s objections to defendant’s witness list.
                Addresses Richard Baca, FBI SA Leroy Chavez and Dan Paulos.

2:54 p.m.       Mr. Winder responds to government’s objections.

3:00 p.m.       Ms. Kastrin responds, explains amendment to government’s witness list. Court
                will permit Defense to leave SA Chavez on witness list. Court will also permit
                Richard Baca to testify. Dan Paulos will also be permitted to testify. Court
                asks that counsel approach the bench before any hearsay statements are elicited.

3:04 p.m.       Ms. Kastrin addresses issue of land status. Court requests documentation from
                parties that lands are federally recognized.

3:07 p.m.       Ms. Kastrin requests information regarding how the early stages of the case will
                proceed, including voir dire, issues with government witnesses, and other
                preliminary matters.

3:12 p.m.       Ms. Kastrin discusses exhibits government will introduce during opening
                statements and notes that Mr. Winder has only objected to one exhibit. Mr.
                Winder responds, explains position that he doesn’t believe exhibits should be
                shown during opening statements.
                Court explains that generally exhibits are allowed during opening statements
                unless there are certain, specific objections.
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3:16 p.m.       Court asks counsel to estimate time of cases/presentations.

3:18 p.m.       Court discusses voir dire. Both parties indicate that they have no objections to
                proposed voir dire. Court suggests parties pick areas of most significance to
                case. Court anticipates giving each party 1.5-2 hours.

3:35 p.m.       Court discusses number of jurors. Government requests three alternate jurors;
                Defense requests four; Government does not oppose four. Court agrees that four
                alternates will be appropriate. Court will look into requesting additional rows to
                bring in more potential jurors. Court discusses for cause and peremptory strikes.

3:43 p.m.       Court addresses issues of religion and media coverage in this case in New
                Mexico.

3:46 p.m.       Court will request 150 jurors; will do another voir dire if necessary. Court will
                look into additional seating to avoid doing another voir dire.

3:49 p.m.       Court in recess.
